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 1 McGREGOR W. SCOTT
   United States Attorney
 2 HENRY Z. CARBAJAL III
   VINCENTE A. TENNERELLI
 3 Assistant United States Attorneys
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6 Attorneys for Plaintiff
   United States of America
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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00045-LJO-BAM

12                                Plaintiff,             PRELIMINARY ORDER OF FORFEITURE

13                          v.

14   NANI ISAAC,

15                                Defendant.

16

17          Based upon the plea agreement entered into between United States of America and defendant

18 Nani Isaac, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.      Pursuant to 18 U.S.C. § 982(a)(2), defendant Nani Isaac’s interest in the following

20 property shall be condemned and forfeited to the United States of according to law:

21                  a. Real Property located at 2208 Giant Oak Lane, Ceres, Stanislaus County

22                     California, APN: 069-036-067-000.

23          2.      The above-listed asset constitutes property derived from or is property that constitutes the

24 proceeds the defendant obtained directly or indirectly, as the result of a violation of 18 U.S.C. § 1014 -

25 False Statements to Bank.

26          3.      The defendant waives oral pronouncement of forfeiture at the time of sentencing, any

27 defects in such pronouncement that pertain to forfeiture, and waives any defenses to forfeiture.

28          4.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to


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 1 seize the above-listed property. The aforementioned property shall be seized and held by the United

 2 States Marshals Service in its secure custody and control.

 3          5.      a.      Pursuant to 18 U.S.C. § 982(b), incorporating 21 U.S.C. § 853(n), and Local Rule

 4 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice of

 5 the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 6 General may direct shall be posted for at least 30 consecutive days on the official internet government

 7 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

 8 written notice to any person known to have alleged an interest in the property that is the subject of the

 9 order of forfeiture as a substitute for published notice as to those persons so notified.

10                  b.      This notice shall state that any person, other than the defendants, asserting a legal

11 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

12 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

13 within thirty (30) days from receipt of direct written notice, whichever is earlier.

14          6.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

15 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982(a)(2), in which all interests will be

16 addressed.

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     IT IS SO ORDERED.
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19      Dated:     October 28, 2019                            /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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